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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

AMOS BELLAMY, et al.,
       Plaintiﬀs,
v.
                                                            Case No. 4:83-cv-7126
TAYLOR COUNTY, FLORIDA, et al.,
       Defendants.
                                                /

            PARTIES’ JOINT MOTION TO MODIFY JUDGMENT

       Defendants Taylor County, Florida and the individually named members of

the Taylor County Board of County Commissioners; Plaintiﬀs Tommy B. Williams,

Shirley Scott (previously Curry), Veleta Roberson (née Curry), and Lessie M. Gent

(née Johnson);1 and Proposed Class Representatives Ernestine Mitchell, Timothy

Flowers, Benjamin Flowers, and Christopher Sneed2 move to modify the Final

Judgment in this case, dated December 8, 1983 (Doc. 42), pursuant to Federal Rule

of Civil Procedure 60(b)(6). A copy of the Final Judgment is attached as Exhibit 1.




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       Other class representatives Amos Bellamy, Willie E. Johnson, Charlie Mae Miller, Essie
Mae Anderson, Lillie M. Jones, Annie Lee Pigford, E.K. “Jack” Scott, Randolph Woodfaulk, and
Wallace Nesbitt have passed away. Plaintiﬀs’ counsel attempted to contact class representative
Mery Ann Jones by multiple telephone calls and letters and an in-person visit, but was unable to
reach her after diligent eﬀorts.
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       Plaintiffs’ Consent Motion to Substitute Class Representatives (ECF No. 4) is pending.

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                                 MEMORANDUM

                            A. Background of the Case

      1.     On April 20, 1983, Plaintiﬀs Williams, Scott, Roberson, Gent, and ten

other individuals ﬁled this class action suit against Taylor County and its ﬁve county

commissioners. (Compl., Doc. 1.) Plaintiﬀs alleged that the at-large election system

for the County Commission then in place illegally excluded Black representation

and participation, canceling out Black voting strength in violation of their rights

protected by the Voting Rights Act. (Id. ¶ 1.)

      2.     dis suit was one of a trio of voting rights cases challenging at-large

elections in Taylor County, the other two being Bellamy v. Taylor County School

Board, No. 4:83-cv-7124, and Bellamy v. City of Perry, No. TCA 83-7125-MMP.

de Court consolidated this action with the Taylor County School Board case on July

14, 1983. (Order of Consolidation, Doc. 29.)

      3.     de Court, Judge Maurice M. Paul, entered a consent decree on

December 8, 1983, certifying a class of “all black residents of Taylor County,

Florida,” enjoining the County from conducting elections on an at-large basis, and

ordering it to implement the speciﬁc districting plan agreed to by the Parties,

including one district (District 5) with a majority of Black voters and residents.

(Final J. ¶¶ 1, 5–6, Doc. 42.) de consent decree “set[] forth the mechanism and plan

for Taylor County, Florida, to conduct elections for the members of the County



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Commission in accordance with the Voting Rights Act” and “adopted and

incorporated” the agreed plan as the remedy. (Id. ¶ 6.)

      4.      de Final Judgment remains in eﬀect today, binds Defendants, and

serves as an adjudication of the rights of class members. de redistricting plan the

Court ordered in the Final Judgment has been in use, unaltered, since 1983.

                    B. Ke 2020 Census Redistricting Process

      5.      Following the release of the 2020 U.S. Census, the County analyzed its

district map and determined that the County had experienced signiﬁcant population

shifts, resulting in substantial inequality of population between the ﬁve districts.

      6.      de County Commission developed a new district map, fulﬁlling its

duty to adjust the district boundaries from time to time when population changes

necessitate, see, e.g., Avery v. Midland Cnty., 390 U.S. 474 (1968); Brown v.

Aomson, 462 U.S. 835 (1983); FLA. CONST. art. VIII, § 1(e), while also complying

with the mandates of the Voting Rights Act.

      7.      dis eﬀort culminated in the County Commission’s adopting of a new

redistricting resolution on February 5, 2024. A copy of the resolution is attached as

Exhibit 2.

                           C. Modiﬁcation of Judgment

      8.      de Parties seek this Court’s approval of the single-member district

boundary plan as reﬂected in the adopted redistricting resolution, and seek the Court



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to order implementation of the new plan for all future elections.

       9.     de Parties are entitled to relief from this Court’s Final Judgment

pursuant to Federal Rule of Civil Procedure 60(b)(6). Rule 60(b)(6) provides that

“[o]n motion and just terms, the court may relieve a party or its legal representative

from a ﬁnal judgment, order, or proceeding for . . . any other reason that justiﬁes

relief.”

       10.    Without a modiﬁcation of the Final Judgment, Taylor County will not

be able to comply with its mandatory duty to maintain single-member districts of

relatively equal population, as the U.S. Constitution requires.

       11.    In addition to bringing the Commission into compliance with the “One

Person, One Vote” requirements of federal and state law, the newly adopted

redistricting plan also fully complies with the Voting Rights Act and the other

requirements of the Court’s Final Judgment. Namely, the new plan aﬀords Black

voters in Taylor County an equal opportunity to participate in the political process

and elect representatives of their choice, and features a district (District 5) that has a

51.0% majority of Black voters by registration, 51.8% by turnout in the last District

5 general election, and 51.2% by voting-age population.

       12.    de relief the Parties request is similar to that granted in other Voting

Rights Act cases, where local governments and plaintiﬀs have sought agreed-to

updates to court-ordered redistricting maps following the release of new census



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ﬁgures. See, e.g., Fla. State Conf. of Branches & Youth Units of NAACP v. Bradford

Cnty. Sch. Bd., No. 3:86-CV-4-TJC-MCR, 2023 WL 5945928 (M.D. Fla. Sept. 12,

2023); Bradford Cnty. Branch of NAACP v. City of Starke, No. 3:86-cv-5-MMH-

LLL (M.D. Fla. May 24, 2022) (ECF 10); Glenn v. Jackson Cnty., No. 5:84-cv-2110-

RV (N.D. Fla. Mar. 15, 2022) (ECF 72); Glenn v. Jackson Cnty. Sch. Bd., No. 5:84-

cv-2109-RV (N.D. Fla. Feb. 16, 2022) (ECF 54); Tallahassee Branch of NAACP v.

Leon Cnty., No. 4:83-CV-7480-WS (N.D. Fla. Dec. 20, 2021) (ECF 147, 150, 152)

(orders granting motions to modify judgment)

      WHEREFORE, the Parties respectfully request that the Court grant their

Joint Motion to Modify Judgment and enter an order approving the single-member

district boundary adjustments as reﬂected in the 2024 redistricting resolution, and

ordering the County to implement them for future elections.



           LOCAL RULE 7.1(C) CERTIFICATE OF CONFERRAL

      Undersigned counsel Nicholas L.V. Warren attempted to confer with Plaintiﬀ

Mery Ann Jones by contacting her by multiple telephone calls and letters and an in-

person visit, but was unable to reach her after diligent eﬀorts.




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     Respectfully submitted this 4th day of April, 2024,

 /s/ Nicholas L.V. Warren                   /s/ Conrad C. Bishop, Jr.
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                         CERTIFICATE OF SERVICE

      I certify that I have served a copy of the foregoing on Defendants by emailing

a copy to Defendants’ counsel Conrad C. Bishop, Jr. at lawbishop@fairpoint.net,

which method of service he consented to in writing, on April 4, 2024. I certify that I

have served a copy of the foregoing on Plaintiﬀ Mery Ann Jones by mailing a copy

to her residential address at 1201 North Avenue, Perry, FL 32348 on April 4, 2024.

                                       /s/ Nicholas L.V. Warren
                                       Nicholas Warren (FBN 1019018)




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